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UNITED STATES DISTRICT COURT
FOR THE DISTRIC'I` OF COLUMBIA

 

IN RE:
GUANTANAMO BAY Misc. No. 08-00442 ('I'FH)
DETAINEE LITIGATION

 

 

ME M OPINI
Pending before the Court is Respondents’ Motion to Amend and for Clarification of the

Court’s January 14, 2010 Order Regarding Public Ret'ums. The motion originally sought ( l) an
extension of time until July 14, 2010, to complete the reprocessing of factual returns for public `
release as required by the Court’s January 14, 2010 Order, (2) a ruling that sensitive but
unclassified information in six proposed categories be designated as “protected” information
pursuant to the Protective Order and Procedures for Counsel Access to Deta.inees at the United
States Naval Base in Guantanamo Bay, Cuba (the “Protective Order”) [08-mc-442, Docket No.
409], and (3) a determination that the government is not required to submit a legal memorandum
justifying designations of protected information in a proposed public factual return unless the
petitioner’s counsel or the respective Merits Judge takes issue with a specific designation
Resp’ts’ Mot. to Amend 1. Because the parties agree that the first and third requests for relief
“have effectively been resolved,” Joint Pre-Hearing Statement 3 [08~mc-442 Docl<et No. 1975],

the Court finds that these two requests are moot and will not be addressed herein. With respect

 

to the remaining request for a ruling that six categories of information may be deemed

“protected” pursuant to the Protective Order because they satisfy the first step of the analysis

 

 

 

 

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outlined in Parhat v. Gates, 532 F.3d 834 (D.C. Cir. 2008), the Court will grant this request for

the reasons that follow.
BACKGROUND
The pending motion is the result of an ongoing effort to ensure that public versions of the

factual returns are filed in these important cases of significant national and international public

 

interest On November 6, 2008, the Court issued a Case Management Order mandating that the
government file unclassified versions of each factual return within 14 days of the date of the Case
Management Order or the date the factual return was liled, whichever is later. Case Mgrnt. Order
11 l(C). On December 29, 2008, the government moved to designate all unclassified factual
returns as “protected” under the Protective Order until the government produced versions that
could be publicly released. On lune 1, 2009, the Court issued an order denying the government’s
motion and mandating:

[T]hat on or before July 29, 2009, for each petitioner . . . the government is directed
to either (i) publicly file a declassifred or unclassified factual return or (ii) file under
seal with the petitioner’s counsel and the appropriate Merits Judge an unclassified
factual return highlighting with a colored marker the exact words or lines the
government seeks to be deemed protected, as well as a memorandum explaining why
each word or line should be protected. If the government chooses to file a
highlighted factual return under seal, the parties must first meet and confer pursuant
to Local Rule of Civil Procedure 7(m); if an agreement cannot be reached, the
government must file with the appropriate Merits Judge a motion to designate as
protected each highlighted portioan the return. Until .luly 29, 2009, the unclassified
factual returns are to remain protected, except that each petitioner shall have access
to the unclassified factual return pertaining to himself, and counsel may disclose the
unclassified factual return to the petitioner’s witnesses and experts who have signed
the Acknowledgment. lf the government does not file an unprotected or highlighted
factual return for a petitioner by July 29, 2009, that petitioner’s unclassified factual
return will be treated as unprotected, unless the appropriate Merits Judge rules to the
contrary. In cases in which the government has not yet provided petitioner’s counsel
with an unclassified factual return, the government shall comply with this order

 

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within 60 days of the date on which the government provides the unclassified return.
Order (June 1, 2009) [Docket No. 1781]. The Court further ordered that press organizations
could file a motion before the presiding Merits Judge requesting a public factual return in cases
involving petitioners who elected not to seek a public factual return Id.

F our months later, The Associated Press, The New York Times Company, and USA
Today ~ which were permitted to intervene in this case for the limited purpose of challenging the
govemment’s designation of unclassified factual returns as protected and hereinafter will be
referred to as the “press intervenors” - moved to have the government held in contempt for
violating the June l, 2009 order by improperly filing redacted factual returns that withheld
unclassified information without moving for permission to seal in accordance with paragraphs 34
and 35 of the Protective Order. Mot. By The Press Intervenors For An Order To Show Cause
Why The Gov’t Should Not Be Held ln Contempt l-Z [Docket No. 1868]. On Ja.nuary l4, 2010,
the Court denied the press intervenors’ motion but ordered the government to comply with the
June l, 2009 order by April l4, 2010. On that date, however, the goverrunent filed the pending
Motion to Amend and for Clarification.

Relying on the DiC. Circuit’s decisions in Ameziane v. Obama, No. 09-5236, slip. op.
(D.C. Cir. Ja.n. 8, 2010) (under seal), 620 F.3d l (D.C. Cir. Oct. 6, 2010) (redacted), and Parhat

v. Gates, 532 F.3d 834 (D,C. Cir. 2008), the govemment’s seeks a ruling that sensitive but

 

unclassified information falling within one of the following six categories may be designated as

“protected” information pursuant to the Protective Order governing these habeas cases:

 

1. Narnes and/or other information that would tend to identify certain U.S.
l government employees, FBI Joint Terron`sm Task Force members, or

 

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contractors - specifically, law enforcement officers, agents, translators,
intelligence analysts, or interrogators, all below the Senior Exectuive Service
or General Officer level - of the family members of detainees

2. Information that would reveal the existence, focus, or scope of law
enforcement or intelligence operations, including the sources, witnesses, or
methods used and the identity of persons of interest.

3, Information indicating the names or locations, including geo-coordinates, of
locations of interest as they pertain to counter-terrorism intelligence
gathering, law enforcement, or military operations, where the Govemment
has not previously acknowledged publically its knowledge of those names or
locations.

4. Infonnation that would reveal the Govemment’s knowledge of telephone
numbers, websites, passwords, passcodes, and e-mail addresses used by
known or suspected terrorists, or discussions of the manner in which known
or suspected terrorists use these methods for communications with one
another.

5 . Information_ regarding the use, effectiveness, or details regarding the
implementation of certain interrogation approaches and techniques approved
by Executive Order l349l and described in the Army Field Manual No. 2-

22.3.

6. Certain administrative data, operational ‘nicknarnes,’ code words, dates of
acquisition, including dates of interrogations, and FBI case names and file
numbers, contained in the intelligence documents included in the factual
retumst

Mem. of P&A ln Supp. of Resp’ts’ Mot. to Amend 22-23. The government contends that the
Court’s determination that these six categories constitute “protected” information pursuant to the
Protective Order “would eliminate the need for case-by-case litigation over the protectability of
each of the approved categories” and thereby would “promote judicial economy and eHiciency.”

Id. at 17. According to the government, “[t]his Court‘s approval of the six categories will help

eliminate many issues over the designation of protected information in the retums, and crystallize

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any issues that remain, so they may be dealt with efficiently and without requiring repetitive
briefing and consideration of these categorical issues.” Id. at l9.

The petitioners oppose the govemment’s motion on the grounds that the government
seeks the protective designations without first meeting and conferring with petitioners’ counsel
as required in the Protective Order, the government’s motion seeks an advisory opinion from the
Court, the six categories are vague, overbroad, exceed the justifications and vest the government
with exclusive discretion to designate information within those categories as protected, and the
government misinterprets the D.C. Circuit’s decision in Ameziane. Joint Resp. ln Opp’n to the
Resp’ts’ Mot. to Amend 3-5, 9-16 (hereinafter “Pet’rs’ Br.”).

The press intervenors take issue with the fact that “[t]he Government impermissibly filed
both its motion to amend and its supporting memorandum completely under seal, then
compounded the offense by purporting to rely upon a sealed opinion of the Court of Appeals.”
Press Intervenors’ Mem. In Opp’n to Gov’t’s Mot. to Amend 7. Like the petitioners, the press
intervenors also challenge the government’s proposed categories as vague, overbroad and
contrary to precedent Id. at ll. 'l`he press intervenors specifically oppose categories B and E.
The press intervenors state, however, that “[c]ategories A, C, D and F, with some revision, could
be made consistent with the constitutional standard, but no change in procedure should be
allowed if it will provide an excuse for any further delay.” Id. at l6. The press intervenors also
seek to have the Court impose sanctions for the “continuing pattern of conduct by the
Govemment that has delayed disclosure of unclassified material in the court’s records for months

and years.” Id. at l7. As a remedy, the press intervenors request that the Court (1) require the

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government to represent that it is not withholding unclassified information from its other court
filings without obtaining the petitioners’ consent or filing a motion to seal as required by the
Protective Order and (2) pay the press intervenors’ reasonable attomeys’ fees and costs incurred
to enforce the Court’s orders. Id. at 18.
LEGAL STANDARDS

The decisions in Bismullah, Parhat, and Ameziane are controlling and establish the legal
standards that apply to the Court’s consideration of the govemment’s pending motion to have six
categories of information designated as protected and subject to sealing. Accordingly, a brief
review of these decisions is warranted to identify the criterion that govern this Court’s analysis
A. Gates v. Br'smullah, 128 S.Ct. 2960 (2008)

ln Bz`smullah, the first decision in which the D.C. Circuit addressed the designation of
protected material in habeas cases involving detainees at the United States Naval Base in
Guantanarno Bay, Cuba, the court considered several procedural motions the parties filed to
govern its review of the merits of eight detainees’ legal challenges to Combatant Status Review
'I`r"ibunal (“CSRT”) determinations that they were enemy combatants. 501 F.3d at 180. Among
other issues, both parties requested that a protective order be issued to address access to
classified material. Id. The Bismullah court entered the protective order proposed by the
government, with modifications and noted that counsel for the peu‘tioners were presumed to
have a “need to know" all information the Combatant Status Review Tribunal was authorized to

obtain and consider to make a determination about whether the detainees were enemy

 

combatants. Id at 188. The Bismullah court stated, however, that the presumption “is overcome

 

 

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to the extent the Govemment seeks to withhold from counsel highly sensitive information, or
information pertaining to a highly sensitive source or to anyone other than the detainee but
presents such evidence to the court ex parte and in camera” Id. The Bismullah court declined to
require disclosure of such information “because, consistent with our rule of deference, ‘[i]t is
within the role of the executive to acquire and exercise the expertise of protecting national
security.”’ Id. The court went on to remark that “[i]t is not within the role of the courts to
second-guess executive judgments made in furtherance of that branch’s proper role." Id. at 188~
89.

The Bismullah court rejected, however, the government’s attempt to make unilateral
determinations about whether to designate information as “protected” and subject to sealing Id
at 188. The court cited as examples the goverrunent’s designation of information ‘“reasonably
expected to increase the threat of injury or harm to any person’ and information already
designated by the Government to be ‘For Ofiicial Use Only’ or ‘Law Enforcement Sensitive.”’
Id. The court concluded its terse examination of this issue by emphasizing that only courts have
the discretion to seal judicial records and a party seeking to protect unclassified information must
proffer a valid basis for doing so. Id. The Bismullah court offered no framework to guide the
parties or the district court about what constitutes a sufficient basis to withhold unclassified
information
B. Parhat v. Gates, 532 F.3d 834 (D.C. Cir. 2008)

Almost a year alier issuing the decision in Bismullah, the D.C. Circuit was confronted

again with the issue of whether information should be deemed “protected” and subject to sealing

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In Parhat, a case involving a detainee at Guantanamo Bay who a CSRT determined was an
enemy combatant, the D.C. Circuit considered the government’s motion to designate as protected
“all nonclassifted record information that it has labeled ‘law enforcement sensitive,’ as well as

the names and identifying information’ of all U.S. goverrmient personnel mentioned in the

 

record.” 532 F.3d at 836. The Parhat court complained tbat, although it had no doubt that some
information in these categories “warrants protection,” the government’s “generic” explanation
‘provid[ed] no rationale specific to the information actually at issue . . . .” Id. As the Parhat
court explained:
The govemment’s rationale for protection is brief. In support of protecting [names
and/or identifying information of United States Government personnel], the motion
states: “It is appropriate to protect from public disclosure unclassified information
identifying Government personnel because . . . [t]he risks to the safety of those
personnel [, particularly those who often deploy to locations abroad,] would be
heightened iftheir involvement in the detention of enemy combatants at Guantanamo
were made public.” In support of protecting [any sensitive law enforcement
information], the motion states: “It is . . . appropriate to protect Law Enforcement
Sensitive materl ” because public disclosure “could harm the Government’s ongoing
law enforcement activities related to the global war against al Qaeda and its
supporters.”
Id. at 852 (intemal citations omitted). The Parhat court also pointed out problems with the
government’s method of designating information as protected because the method was “less than
clear.” Id. As examples, the court observed that some pages were marked as Law Enforcement
Sensitive without any indication whether the marking applied to the whole page, some pages

contained blackened text that was still legible, and some text was completely blackened so that

the court could not view it. Id.

 

 

Quoting Bismullah, the Parhat court further admonished the government that “[b]y

 

 

 

 

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resting its motion on generic claims, equally applicable to all of the more than one hundred other
detainee cases now pending in this court, the government effectively ‘proposes unilaterally to
determine whether information is protected.”’ Id (quoting Bismullah, 501 F.3d at 188) (internal
quotation marks omitted). The Parha¢ court went on to state that “[w]ithout an explanation
geared to the information at issue in this case, we are lett with no way to determine whether that
specific information warrants protection ~ other than to accept the govemment’s own
designation.” Id. The court therefore denied the government’s motion and “direct[ed] it to file a
renewed motion, accompanied by a copy of the record identifying the specific information it
seeks to designate and pleadings explaining why protecting that specific information is required.”
Id. at 83 7.

When the government later renewed its motion a marked copy of the petitioner’ s CSRT
record was provided to the court. Order, No. 06-1397 (Sept 2, 2008) [hereinalter referred to as
“Parha! II”]. The government “also supplie[d] two declarations explaining why protected status
is required for the information that has been marked.” Order at 2. Granting the government’s
renewed motion to designate information as protected, the Parhat 11 court explained that
“[a]lthough the government makes no claim that Parhat himself poses any threat to the safety or

privacy of the individuals who participated in his CSRT proceedings, the declarations explain the

 

 

risks of releasing the designated names and case file number to the public at large, and the

 

govemment’s rationale is ‘specifrc to the information actually at issue in this case. ”’ Id
Notably, Parhat’s counsel did not object to protection of the categories identified in the renewed

motion,

 

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C. Ameziane v. Obama, No. 09-5236, Slip. Op. (D.C. Cir. Jan. 8, 2010) (under seal), 620
F.3d 1 (D.C. Cir. Oct. 6, 2010) (redacted)

Finany, in Ameziane, the D.c. circuit considered “whar informatio-

-an be protected from public disclosure when the detainee is anxious to reveal

it.” No. 09-5236, slip op. at 2 (D.C. Cir. Jan. 8, 2010) (Brown, J.).

  
  

  

The district court denied the government’ s motion t protec.

during a hearing at which the court found thal_leclaration “had ‘nothing . . .

to do with this case in particular,’ and protested that allowing Ameziane to disclos-

ld. at 4.

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z'd., the district court issued an order and granted a one-week stay, which the government moved
to extend for an additional week. Id. 'Ihe district court denied the request to extend the stay and
issued a written opinion that “stated ‘[t]he govemment’s rationale for protecting [Arneziane’s]

was] riddled with contradictions.”' Id. at 4-5. The district court “disregarded

   
   
 
  

eclaration because it ‘provide[d] no specifici

Id. at 5. The district court further stated that it

“was not ‘convinced’ by the govemment’s ‘speculative and conclusory’ national security

concems.” ld The district court found “most important[]’

 

On appeal, the Ameziane court first observed that, while “{i]t is ‘our customary policy’ to
accord ‘deference to the President in matters of foreign affairs,”’ the detainee cases are unique
and “[b]ecause of the independent role carved out for the judiciary, and our concomitant
obligation to balance the needs of the government against the rights of the detainee, and also to
preserve to the extend feasible the traditional right of public access to judicial records grounded
in the First Amendment, we exercise greater caution in deciding to defer.” Id. at lO. The
Ameziane court summarized the state of the precedent and reiterated that Bismullah requires the
government to provide a basis for withholding unclassified information that is seeks to protect
and Farhat establishes that “a valid ‘basis for withholding’ would include, at a minimum, a

‘specit`rc,’ ‘tailored’ rationale for protecting a general category of information and a precise

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designation of each particular item of information that purportedly ‘falls within the categor[y] . . .
described.”’ Id. at 11 (quoting Parhat, 532 F.3d at 853). Referring to Parhat’s two-step
standard, the Ameziane court explained that “[i]n other words, the government first must
demonstrate what kind of information requires protection and why, and then must show exactly
what information in the case at hand it seeks to protect.” Id. The Ameziane court cautioned,
however, that:

Parhaz did not require the government to provide a rationale for protection that was

so specific as to preclude any generalized categorization Rather, Parhat left room

for categorized requests in appropriate circumstances Of course, the narrower the

category for which the government seeks protection, the ' more likely the

govemment’s rationale will be sufficiently tailored. But the district court erred by

construing Parhat to require a specific and distinct rationale addressed to each

detainee’s situation.
Id at 12-13.

Reversing the district court’s decision, the Ameziane court found that the government met
the first step of Parhat ’s two-step standard by requesting protection for a “single, limited

category,’_d related or derivative documents, while

providing a “detailed rationale tailored specifically to the information in the narrow category" as

presented in _eeiamtion, whjeh nogieaiiy explained why failing to protect
_as likely to harm the government’s foreign relations and national

security interests.” Id at 13. The Ameziane court concluded that “[b]ecausc this detailed

 

rationale was tailored specifically to the narrow category of information for which the
government requested protection, the government satisfied the first showing required by Parhat."
Id. at l4. ln addition, the Ameziane court found that the second step of the Parhat standard was

satisfied “because [the court] face[d] no difficulty ‘deterrnin[ing] whether the information [the

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government] has designated properly falls within the categor[y] it has described.” Id. The

Ameziane court explained that:

The v ' ate for protection a precise item of information -
- that indisputably falls into the narrow category of
deed, this case fits squarely within the ~ overnment’s
rationale for rotection. Althou_ overnment has determined

  
   
   
 

 

Thus, the government met its burden for protection under Parhat.
Id. at 14-15. 'l`he court then emphasized that “[b]ecause the government satisfied Parhat, the
district court was required to defer to the government’s assessment of the harm to foreign

relations and national security that would result from officially disclosing-

Id. at 15.

The Ameziane court warned that “Parhat did not free courts to substitute their own policy

judgments for those of the executive.” Id. at 16. The Ameziane court further chided that “[t]he

district court’s inability to ‘undcrstand’ how permittin_

‘will interfere in anything,’ . . . did not license the court

to ‘perform[] its own calculus as to whether or not harm to the national security . . , would result
from [the] disclosure’ . . . .” Id. (quoting Fitzgibbon v. CIA, 911 F.Zd 755, 766 (D.C. Cir. 1990)).

The Ameziane court concluded that the district court ti.irther erred by “elevating Ameziane’s

interest

 

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D. Application of the Decisions in Bl`smulla, Parhat, and Ameziane - The Two-Step
Parhat Test

 

Upon reflection, the decisions in Bismulla, Parhat and Ameziane establish a fairly
mechanical process to assess whether unclassified information should be sealed. Pursuant to
Parhat 's first step, the government must identify the categories of information it seeks to protect
and provide a valid basis for withholding information in those categories. To satisfy this step,
the government must proffer a specific, tailored rationale for protecting a general category of
information To be clear, the rationale must be tailored to the category for which protection is

sought but need not necessarily be tailored to a particular case. Ameziane, No. 09-5236, slip op.

 

 

at 12. lt will not suffice for the government to identify broad categories for which the rationale
for protection is brief, spare and generic. Id. at ll. On the other hand, the government’s
rationale need not be so specific that it precludes any generalized categorization Ial at 12.
Purthermore, “the narrower the category for which the government seeks protection, the more
likely the government’s rationale will be sufficiently tailored." Id. at 12-13.

With respect to Parhat 's second step, the Court must determine whether the specific
information the government has designated for protection properly falls within the category
identified in the first step. Id. at l4. The D.C. Circuit’s analysis in Ameziane suggests that
determining whether the information falls within the protected category requires evaluating
whether the rationale for protection asserted in the first step is implicated by the specific

information the government has designated for protection in the second step. Id This is an

important point that appears to have eluded both parties lri Ameziane, the D.C. Circuit assessed

 

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whether the precise information designated for protection fell into the category for which
protection was sought by considering whether the information “fit[] squarer within the
government’s rationale for protection.” Id. Thus, determining whether designated information
fails within a protected category requires the Court to evaluate whether the rationale for the

category applies to the designated information

 

Ultimately, Ameziane makes clear that, if the government satisfies the two-step test
outlined in the Parhat decision, the district court is required to defer to the govemrnent’s
assessment of the harm to foreign relations and national security that would result from
disclosure of the information the government seeks to protect. Id at 15. “[T]he failure to give
deference when it is due is error.” Id. “Parhat did not free courts to substitute their own policy
judgments for those of the executive.” Id. at 16.

ANALYSIS

A. Step one ofPar/rat- whether the respondents have demonstrated what kind of
information requires protection and why

With the foregoing legal standards in mind the Court turns to the merits of the
government’s motion, beginning with Parhat 's first step, which involves identifying the
categories of information the government seeks to protect and determining whether the
govemment has proffered a valid basis for withholding information in the identified categories
To be clear, the information the government seeks to protect from public disclosure consists of
unclassified information that the government deems to be sensitive because it “could cause harm
to significant national security and law enforcement interests.” Mem. of P&A ln Supp. of
Resp’ts’ Mot. to Amend 22.

As a preliminary matter, the Court notes that the government relies principally on the

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Second Declaration of_Mem. of P&A In Supp. of Resp’ts’ Mot. to Amend Ex. 3

(herinafter cited as “SeconddDecl.”), and the Declaration of James W. McJur\ldn, Assistant
Director, Counterterrorism Division Federal Bureau of Investigation, id Ex. 4 (hereinafter cited

as “McJunkin Decl.”), to support its contention that the categorized information should be sealed

 

from public disclosure Id. ar 22 eating rim “[r]h¢ sech 3 and McJunkin declarations
submitted with this motion establish that publicly releasing information falling into the following
six categories could cause harm to significant national security and law enforcement interests”).
_is the Defense lntelligence Agency's _f the Department
of Defense Security Classification/Declassitication Review Team (“DoD SC/DRT”) within the
Department of Defense (“DoD”), scIeclaration provides the Departrnent of Defense’s
rationale for seeking to seal certain information in all six proposed categories Second-
Decl. ii l. James Mc.lunkin is the Assistant Director of the Counterterrorism Division at the
Federal Bureau of Investigation (“FBI”), so his declaration provides the FBI’s rationale for
seeking to prevent the public disclosure of information covered by five of the six proposed
categories, namely categories A, B, D, E and F. McJunkin Decl. 1111 l, 7. Both the Second-
and McJunkin deel a.rations are 25-28 pages long, describe the declarant’s role, the respective
agency’s protocol t`or protecting information, and contain detailed explanations about the specific
information within each category that the agency deems to be sensitive2 Both declarations are

classified, although redacted versions were provided to the press intervenors

 

‘ The government also submitted a First Declaration of that
addressed other matters not relevant to the question of whether the six categories designated by
the government should be sealed fi'orn public disclosure.

2 The Court notes that, upon examination, the explanations contained in the Second

-and McJunkin declarations are virtually identical in many, if not most, circumstances.

 

 

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Category 1 Information tending to reveal the identities of certain government
personnel, and family members of detainees, should be withheld
from the public to ensure the safety and privacy of those
individuals.

The first category of information the government seeks to protect is “names and other
information that would tend to identify certain U.S. Governrnent employees or contractors -
specifically, law enforcement officers, agents, translators, intelligence analysts, or interrogators,
all below the Senior Executive Service or General Offieer level - as well as members (state and
local law enforcement personnel) of the FBI`s Joint Terrorism Task Force (“JTI`F”), and family
members of detainees Mem. of P&A In Supp. of Resp’ts’ Mot. to Amend 24. l'he government
does not seek to protect the names of more senior government ofiicials who might have been
identified in factual returns Id at 24-25.

The press intervenors concede that this “category is precisely defined to avoid the need
for discretion” so they do not object to this category as proposed “so long as it is limited to
information not previously acknowledged.” Press lntervenors’ Br. 16. The petitioners, however,
urge the Court to reject this category as “vague, overbroad and merely a re-working of the first
category rejected by the D.C. Circuit in Parhat and Ameziane:” Pet’rs’ Br. 16. 'lhe petitioners
also complain that the category does not limit detainee family members to those whom the
government alleges are facing threats or who have cooperated Id at l9.

For the sake of comparison, the category of information at issue in the original Parhat
decision was described as “‘any names and/or identifying information of United States
Govemment personnel.”’ 532 F.3d at 852. The rationale the government offered for protecting
such a broad category was simply that “‘[i]t is appropriate to protect from public disclosure
unclassified information identifying Govertlmerrt personnel because . . . [t]he risks to the safety

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of those personnel [, particularly those who often deploy to locations abroad,] would be
heightened if their involvement in the detention of enemy combatants at Guantanamo were made
public.” Id. The D.C. Circuit declined to seal this category of information because it found the
government’s rationale to be “spare,” “generic,” and not specific to the information the
government designated. Id. at 853. Although the D.C. Circuit stated that it “did not doubt that
the names and identifying information of some United States Government personnel should be
designated as ‘protected,”’ “there are also some ‘U.S, Govemment personnel’ whose names
appear in the record on review who are so publicly associated with Guantanamo that protected
status would plainly be unwarranted.” Id. After the government later renewed and revised its
motion, however, the D.C. Circuit granted the government’s request to protect “the names and
identifying information of United States government personnel (agents, law enforcement otticers,
and translators) who are involved in law enforcement activities relating to the detention of enemy
combatants.” Order, No. 06-1397 (D.C. Cir. 2008).

The category the government now seeks to seal -- “names and other information that
would tend to identify certain U.S. Govemrnent employees or contractors - specifically, law
enforcement oftieers, agents, translators, intelligence analysts, or interrogators, all below the
Senior Executive Service or General Officer level - as well as members (state and local law
enforcement personnel) of the FBI’s Joint Terrorism Task Force (“J'I`I`F"), and family members
of detainees” -- is somewhat similar to the category that ultimately was approved by the D.C.
Circuit in Parhat, albeit it is narrower to the extent it is limited to employees and contractors

below the Senior Executive Service or General Officer level but broader to the extent it includes

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intelligence analysts, interrogators, members of the Joint Terrorism Task Force and detainees’
family members The governrnent’s rationales for seeking to seal this information are that

(l) 10 U.S.C § 130b exempts from public disclosure personally-identifying information about
any employee whose duty station is with a unit involved in collecting, handling, disposing or
storing classified information and materials,3 (2) 10 U.S.C. § 424 exempts li'om disclosure the
name, title, or other professional identifying information about people employed by the Defense
Intelligence Ageney, the National Reconnai ssance OHice and the National Geospatial-

lntelligence Agency,4 (3) publicly releasing information about covered individuals would

 

3 lO U.S.C. § l30b states:

Exemption from disclosure.-The Secretary of Defense and, with
respect to the Coast Guard when it is not operating as a service in the
Navy, the Secretary of Homeland Security may, notwithstanding
section 552 of title 5, authorize to be withheld from disclosure to the
public personally identifying information regarding--( 1 ) any member
of the armed forces assigned to an overseas unit, a sensitive unit, or
a routinely deployable unit; and (2) any employee of the Department
of Defense or of the Coast Guard whose duty station is with any such
utnt.

10 U.S.C. § l30b(a).
‘ 10 U.S.C. § 424 states‘.

(a) Exemption from disclosure.--Except as required by the President or as provided
in subsection (c), no provision of law shall be construed to require the disclosure of--
(l) the organimtion or any function of an organization of the Department of Defense
named in subsection (b); or (2) the number of persons employed by or assigned or
detailed to any such organization or the name, official title, occupational series,
grade, or salary of any such person.

(b) Covered organizations.--'Ihis section applies to the following organizations of the

j Department of Defense: (l) The Defense lntelligence Agency. (2) The National
Reconnaissance Otiice. (3) The National Geospatial-lntelligence Agency.

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compromise their safety by making it possible for people or organizations sympathetic to the

detainees to commit retaliatory acts to harm them or their families, (4)_

 

information identifying covered individuals could interfere with ongoing or future law

enforcement, military or intelligence operations by causing these individuals to be fearful for
their safety and their families’ safety, which could discourage such individuals from willingly
getting involved in detainee or other sensitive matters and thereby diminish the effectiveness of
the government’s counter-terrorism and national-security efforts, (6) telephone numbers, fax
numbers and addresses used by covered individuals pose the same concerns about harassment
that could interfere with military missions, national security or law enforcement duties,
(7) disclosing identifying information about covered individuals also subjects them to unwanted
b public and media attention and scrutiny, which is an intrusion of their privacy, risks their and

their fatnilies’ safety, and could expose them to embarrassment or harassment while conducting

 

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_(9) disclosure of identifying information about FBI agents who

prepared investigative reports poses safety, national security and privacy concerns, and might

 

compromise other sensitive, intelligence or law enforcement investigations in which the agent is
involved.’ second Ieci. ry 14_24; M¢Junkin Decl. 1111 11-16. the got/mem also
correctly cites Schrecker v. U.S. Dept. of Justice, 349 F.3d 657, 661 (D.C. Cir. 20(]3),s which
states that D.C. Circuit “deeisions have consistently supported nondisclosure of names or other
information identifying individuals appearing in law enforcement records, including
investigators suspects, witnesses, and infonnants.” Mem. of P&A ln Supp. of Resp’ts’ Mot. to

Amend 27.

 

The crux of the petitioners’ complaint about this proposed category is that it is overly
l inclusive because it fails to exclude government personnel who are so publicly associated with

l Guantanaxno Bay that protected status would be unwarranted1 which was an issue in Parhat.

 

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The McJunkin Declaration explains that, “[t]or example, intelligence sources with
links to known or suspected terrorist groups may decide to disassociate themselves with the FBI
and discontinue providing intelligence if their FBI agent contact is revealed to the public.”
McJunkin Decl. 1f 15.

Schrecker was a case involving FOIA Exemption 7(C), which provides that an
agency may withhold records or information compiled for law enforcement purposes in certain
circumstances 349 F.3d at 661.

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Pet’r’s’ Br. l7-l9. The petitioners seem to misunderstand that, as discussed in Part H(D), supra,
during step two of the Parhat analysis the determination of whether designated information falls
within a protected category requires evaluating whether the rationale for protection asserted in
step one is implicated by the information fn other words, if the rationale for protecting the
identities of government personnel is based on the need to avoid putting their safety at risk and
jeopardizing ongoing or future missions, then it might be the case that government personnel
whose identities have already been wholly exposed will not qualify for protection because that
rationale no longer applies to them. Their identity and the scope of their involvement might have
been so publicly revealed that sealing their identities in particular documents will not ensure their
safety or otherwise avoid jeopardizing ongoing missions Accordingly, the identities of such
personnel will not qualify for protection pursuant to Parhar’s step two. 'I`o be clear, though, that
is not to say that government personnel whose identities have been publicly revealed will never
qualify for protection under the asserted rationale To the contrary, it might be the case that the
public disclosure of an individual’s identity occurred in a narrow context such that the need to
avoid further or more extensive disclosure is warranted to protect the individual’s safety or the
integrity of the mission The government also raises a fair point that there is an important
distinction between public disclosure of information that has been officially acknowledged by the
government versus information that is merely publicly available Resp’ts’ Reply Br. 13 (citing
Fz'tzgibbon v. CIA, 911 F.Zd 755, 765 (D.C. Cir. 1990) (Sentelle, 1.) (stating that “in the arena of
intelligence and foreign relations there can be a critical difference between official and unofficial
disclosure")). Regardless, in this case the Court finds the government’s rationale to be

sutiiciently tailored to ;void the over inclusivenes's that concerns the petitioners

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this category must satisfy Parhat's step-two analysis, which means that the designated
information must comport with the rationales supporting the category to warrant sealing

Category 2 Information revealing the existence, focus, or scope of law

enforcement or intelligence operations, including the sources,
witnesses, or methods used and the identity of persons ofinterest.

The second proposed category of information revealing the existence, focus, or scope of
law enforcement or intelligence operations, including the sources, witnesses, or methods used
and the identity of persons of interest The government's rationale for this category is that this
information “could provide currenth potential subjects of investigation including international
terrorists and terrorist organizations, with signiHcant insight into the U.S. Government’s
counterterrorisrn and law enforcement ei`forts, enabling persons suspected of terrorism-related
activities to avoid detection and evade prosecution, dramatically reducing the effectiveness of
current and future . . . efforts, and thereby compromising national security” and law enforcement
missions. Second .Decl. 11 25; Mc.lunkin Decl. 1{ l7. The government argues that revealing
this information would result in the subjects of investigations and their associates “likely”
concealing their activities, changing their methods of operation, or otherwise taking steps to

avoid and interfere with the govemment’s ability to conduct investigations effectively Second

.Decl. 1l 26; McJunkin Decl. 11 18.

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-Door. 11 33; Morunkin Decl. 1[ 25.
Both the press intervenors and the petitioners object to the second proposed category
The press intervenors characterize this category as seeking “sweeping permission for the
Government to withhold any unclassiiied information relating to ‘law enforcement or
intelligence operations.”’ Press Intervenors’ Br. 13-14. According to the press intervenors,
“[t]his category is so vague and open-ended that it would provide the Government with
justification to withhold almost any information likely to be found in a F actual Retum - certainly

every detainee must have been connected to a ‘law enforcement or intelligence operaiion."’ Id

 

 

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at l4. The press intervenors also contend that this category is like the “law enforcement
sensitive” category the D.C. Circuit rejected in Parhat. Id. Sirnilarly, the petitioners argue that
this proposed category is “vague, overbroad, and merely a re-working of the first category
rejected by the D.C. Circuit in Parhar and Ameziane.” Pet’rs’ Br. 20. The petitioners are also of
the view that the government is improperly exercising discretion by inconsistently redacting

information in this category. Id at 20-21.

 

Permitting the government to withhold information that reveals intelligence or law
enforcement sources and methods that could undermine the effectiveness of operations is not
without precedent Historically, courts have recognized that certain executive-branch
information may be protected from disclosure to ensure the viability of national-security and law-
enforcement operations:

Since the beginnings of our nation, executive officials have claimed a variety of
privileges to resist disclosure of information the confidentiality of which they felt was
crucial to fulfillment of the unique role and responsibilities of the executive branch
of our govemment. Courts ruled early that the executive had a right to withhold
documents that might reveal military or state secrets. The courts have also granted
the executive a right to withhold the identity of government informers in some
circumstances, and a qualified right to withhold information related to pending
investigations

 

See In re Sealed Case, 121 F.3d 729, 736-37 (D.C. Cir. 1997) (Wald, J.). Thus, for example, it l

has long been established that “when the disclosure of investigative reports obtained in large part

 

through promises of confidentiality would hamper the efficient operation of an important
Government program and perhaps even . . . impair the national security by weakening a branch of
the military, the reports should be considered privilegcd.” Machin v. Zuckert, 316 F.2d 336, 339

(D.C. Cir. 1963) (Washington, J.). Similarly, under the Freedom of lnformation Act the

 

 

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government may withhold from disclosure, among other things, information compiled for law

enforcement purposes that:
[C]ould reasonably be expected to disclose the identity of a confidential source,
including a State, local, or foreign agency or authority or any private institution [that]
furnished information on a confidential basis, and, in the case of a record or
information compiled by criminal law enforcement authority in the course of a
criminal investigation or by an agency conducting a lawtiil national security
intelligence investigation information furnished by a confidential source . . . or . . .
could reasonably be expected to endanger the life or physical safety of any individual
5 U.S.C. § 552(b)(7). lndeed, no less an authority than the United States Supreme Court has
acknowledged that maintaining the confidentiality of intelligence sources is ‘“essential to the
effective operation of our foreign intelligence services”’ and that “D]f potentially valuable
intelligence sources come to think that [the government] will be unable to maintain the
confidentiality of im relationship to them, many could well rehise to supply information to [the
govemment] in the first place.” C.I.A. v. Sims, 471 U.S. 159, 175 (1989) (Burger, J.). “Even a
small chance that some court will order disclosure of a source’s identity could well impair
intelligence gathering and cause sources to ‘close up like a clam.”’ Id lt also is well recognized
that even disclosures of unclassified information might compromise classified information and
confidential sources. Snepp v. United States, 444 U.S. 507, 512 (1980) (per curiam). Looking
beyond disclosure of a human source’s identity, the Supreme Court has cautioned that disclosures
of other non-human sources from which adversaries might infer the government’s intelligence
interests and methods also could be detrimental Sims, 471 U.S. at 177 (noting that adversaries
“can learn a great deal” about our government’s intelligence operations simply by discovering the

public sources of information or research that interest United States intelligence agencies).

These are but some examples of the judicially- and statutorily-recognized privileges and

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exemptions from disclosure that illustrate the recognition that it is sometimes necessary to
withhold nom public disclosure information deemed sensitive because it patently, or by
inferenee, could compromise intelligence and law enforcement operations, or place sources in
danger, even though the information is not classified As a matter of fact, the D.C. Circuit’s
decision in Ameziane expressly states that the framework established by its decisions in
Bismullah and Parhat applies to “requests by the government to protect sensitive information."
No. 09-5236, slip op. 10.

N either the press intervenors nor the petitioners rebutted the govemment’s citations to
precedent establishing that “courts have traditionally recognized the importance of protecting law
enforcement techniques and procedures from disclosure, ‘to preserve the conhdentiality of
sources, to protect witness and law enforcement personnel, to safeguard the privacy of
individuals involved in an investigation, and otherwise to prevent interference with an
investigation.”’ Iri (quoting In re Dep 't of Investigation of City of New York, 856 F.Zd 481 , 484
(2d Cir. 1988)). 'l'he government also cited cases that deal with the protection of` intelligence
sources and methods, which neither the press intervenors nor the petitioners challenge Id. `a.t 31.

That being said, the petitioners’ and press intervenors’ complaints about the breadth and
vagueness of this category are not wholly unfair given that, at first blush, nearly anything relating
to Guantanamo Bay detainees could be deemed to reveal the existence of law enforcement or
intelligence operations The govemment’s rationale, however, limits the information in this
category to information that provides current or potential investigative subjects “significant
insight into the U.S. Govemment’s counterterrorism and law enforcement efforts” that would

“enabl[e] persons suspected of terrorism-related activities to avoid detection and evade

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prosecutions id- a 2_
29-30. Although the category is not as narrowly defined as_in
Ameziane, the Court nevertheless finds the rationale to be sufficiently tailored to enable the Court
to determine whether designated information properly falls within the category. No. 09-5236,
slip op. at 12. Frankly, the Court cannot foresee a more explicit way of describing the
information to be covered by this category, or the rationale, without revealing the very
information it seeks to protect, actually identifying specific operations, sources or methods at
issue in a particular case, or otherwise making the rationale so tailored that it applies only to a
specific case. Id. at l4 (stating that “Parhat did not require the government to provide a rationale
for protection that was so specific as to preclude any generalized categorization”). Because the
government’s category and rationale demonstrate what kind of information requires protection
and logically explains why failing to protect this information is likely to harm the govemment’s
foreign relations and national security interests, the Court finds that it satisfies Parhat’s step-one
requirement Id at l l, 13.
Category 3 Names and locations 1
and other locations of interest as they pertain to counter
terrorism intelligence gathering, law enforcement, or military
operations, where the government has not previously
acknowledged publicly its knowledge of those names or locations.
The third category of information for which the government seeks protection is names
and location-and other locations of interest as they

pertain to counter-terrorism intelligence gathering, law enforcement, or military operations,

where the government has not previously acknowledged publicly its knowledge of those names

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or locations The rationale for protecting this category of information is that

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_ Second Iecl. 1]‘1[ 35-40 The government also asserts that
withholding this information is authorized by statute, namely 10 U.S.C. § 455 (b). Second-
Decl. 1{ 40. 10 U.S.C. § 455(b) provides that imagery, imagery intelligence, or geospatial
information in the Department of Defense’s possession may be withheld from public disclosure
under three enumerated circumstances

The press intervenors do riot object to this category “so long as it is limited to information

not previously acknowledged.” Press Intervenors’ Br. 16. The petitioners question why this

 

information is not classified if it needs protection and complain that this category is too vague
and gives the government too much discretion to deem anything a “location of interest.” Pet’rs’
Br. 23. The petitioners contend there is “no workable definition of what constitutes a ‘location of

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interest, the phrase is not limited to ongoing investigations, and this category would authorize

withholding that exceeds the proffered rationale. As an exarnple, the petitioners claim the

 

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The Mc.lunkin declaration indicates that the F.B.I. does not consider this category
of information to apply to it. McJunkin Decl. 11 26 (stating that “[t]his category pertains to
information of concern to other agencies within the Executive Branch” and “the rationale for its
protection is described in a declaration from the Department of Defense”).

 

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The government responds by first addressing the contention that information should be
classified to be protected, which the government disputes in light of precedent recognizing, for
example, a state secrets privilege to safeng information that is not classified but nevertheless
poses a national security risk. Resp’ts’ Reply Br. 18. The government again relies on Ameziane

as authority for protecting categories of non~classified information that could harm national

 

sccurity. Id. The government also refutes the notion that it would protect information that has

l been previously acknowledged by the government, such as deftmct guesthouses. Id at 19. The
government further notes that this category “is . . . limited to locations that ‘pertain to counter-
terrorism intelligence gathering, law enforcement, or military operations.”’ Id. The government
finally argues that the petitioners “have endeavored to demonstrate the supposed overbreadth of a
category by reference to information that falls clearly outside its limiting terms.” Id.

The Court finds that this category complies with Parhat. The government proffered a
specific, tailored rationale for protecting this category that explains with sufficient detail why
disclosure under this category would harm national security both apparently and by implication
The govemment’s rationale limits this category to “names and locations_

or other locations of interest as they pertain to counter-terrorism intelligence
gathering, law enforcement, or military operations, where the Government has not previously
acknowledged publically its knowledge of those names or locations.” Second-Decl. 11 34.
Category 4 Information revealing the govemment’s knowledge of

terrorist phone numbers, websites, and other means of
communication because disclosure of such information

 

 

 

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could lead terrorists to alter or improve their
communications technology to better avoid detection.

 

The fourth category for which the government seeks protection is information revealing

the government’s knowledge of terrorist phone numbers, websites, and other means of

 

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The press intervenors state that they “have no interest in obtaining the disclosure of
specific telephone numbers, websites, passwords, etc., of identified individuals, but object to the
extent this category would afford the Govemment discretion to withhold information about the
types of communications surveillance undertaken by the Govemment, even where the
Govemment has already publicly acknowledged its surveillance activities . . . .” Press
Intervenors’ Br. l7. According to the press intervenors, “[n]o purpose would be served by such

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redactions; disclosure would create no new risk to national security or law enforcement

 

 

 

 

 

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operations.” ld The petitioners object to this category because it “handicaps the ability of

petitioner’s counsel to adequately investigate the allegations in the factual return ” Pet’rs’ Br. 24.

The petitioners further claim that a blanket designation is not warranted Id

The government responds to these complaints by emphasizing that protecting the manner
and modalities by which known or suspected terrorists communicate with one another is vital
“because its disclosure could lead terrorist groups to alter or improve their communications
technology to better avoid detection by the United States.” Resp’ts’ Reply Br. 20. The
government dismisses the petitioners claim that “protecting information within any of the six
categories will present insurmountable obstacles to the investigation of individual petitioners’
cases.” Id. According to the government, “when individual petitioners’ counsel have requested
that Respondents declassify information in returns or to permit disclosures of protected
information Respondents have endeavored to accommodate Petitioner’s requests to the extent
possible consistent with law enforcement and national security interests.” Id. The government
further asserts that it has met the requirements of Ameziane, in which case the Court “may not
require the Govemment to provide case-specific justificaqu for protecting information it has
identified as falling within the category.” Id. at 20-21.

This is a fairly narrow category in terms of identifying what the government seeks to
protect and the govemment’s rationale is sufficiently tailored to the category and logically
explains why protection is warranted lt therefore meets the requirements ofParhat. As far as
the press intervenors’ concern that this category will permit the government to withhold
information that has already been publicly disclosed in some fashion, as the Court has explained

several times, information will not qualify for protection if the rationale for protecting the

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The petitioners offered no explanation about how protecting this information will prevent
them from investigating their cases and, if such a situation should arise, the petitioner’s certainly
may seek the Court’s assistance to ensure that they are able to adequately investigate the charges
against them in accordance with the law. 'l`he petitioners’ counsel have access to much of the
information available in these cases, including classified material, and therefore should have the
necessary facts to investigate their cases, albeit their ability to discuss all the facts with their
clients or others is limited by the classification and protected status of certain information
Nevertheless, as the Court indicated, counsel for the petitioners may seek the Court’s assistance
if they find themselves in the position of being unable to adequately prepare a defense because of
asserted limitations on information sharing, in which case the Court can address the matter
appropriately

Category 5 Information regarding the effectiveness of or details

regarding the implementation of certain interrogation

techniques and approaches approved by Executive
Order 13491, 75 Fed. Reg. 4893 (Jan. 27, 2009)

 

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In addition to the prior four categories, the government also seeks to protect information
about the effectiveness of certain interrogation techniques and approaches approved by Executive
Order 13491 and described in Army Field Manual No. 2-22.3, as well as details about the

implementation of those techniques and approaches The government does not seek to protect

the types of approaches used, which are publicly available, but rather the “manner and strategy in

which they are empioyed.” seeond- Decl. 1 52; M¢J\mkin Decl. 11 35.

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The press intervenors take issue with this category mainly because they assert detainee
treatment and interrogation is a matter of public debate and concem. Press lntervenors’ Br. 15.
The press intervenors therefore challenge a category that results in the withholding of all
information concerning interrogation techniques Id. The petitioners question again why this
information is not classified if it needs protection and also argue that this category is too broad.
Like the press intervenors, the petitioners also assert that information about the use of certain

interrogation techniques is a matter of public interest Pet’rs’ Br. 24. The petitioners are

 

 

 

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concerned that the government will be in a position to control the release of information in a way
that distorts the facts and precludes an independent, judicial balancing of the competing interests
I¢i at 25. The incorporation of interrogation credibility assessments into this category raises
issues for the petitioners because this is “information that is vital to the public’s understanding of
that information.” Id at 26. From the petitioners’ perspective, “[o]nce again, the Government‘s
Motion would vest the government with the discretion to designate information within these 1

categories as protected, rather than the Court - with the net result being that the government will

 

be allowed to create a misleading public record by means of selective exercise of the categorical
protection power it seeks.” let

The government responds to the petitioners’ and press intervenors’ concerns by
reiterating that this category is limited to techniques approved in Executive Order 13491, which
“set new standards and practices for interrogations of persons in U.S. custody, and restricted
interrogation techniques, approaches, and any treatment related to interrogation, to the techniques
authorized by and listed in Arrny Field Manual 2-22.3.” Resp’ts’ Reply Br. 22. The government
notes that Executive Order 13491 denounces torture so “any other such outrach upon personal
dignity are not within the scope of the information that Respondents would seek to protect under
[this category].” Id. The government asserts that pursuant to Ameziane, the other interests cited
by the petitioners “may not be invoked as a reason to disregard the judgment of the Executive
Branch that revealing information about the execution or effectiveness of . . . approved 4
[intcrrogation] techniques could be harmful to national security. Id. at 23.

In this instance, like the others, the Court finds that the government’s proposed category

clearly describes what kind of information will be protected and the rationale is tailored to

 

 

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explain why protection is warranted. Without a doubt, the interrogation methods the government
has used against detainees have been the subject of vigorous public debate, interest and concern.
But at no point has the D.C. Circuit carved out an exception to the Parhat two-step test for
information that is a matter of public interest. What the government is required to do to satisfy
Parhat is “demonstrate what kind of information requires protection and why, and then [it] must
show exactly what information in the case at hand it seeks to protect.” Ameziane, No. 09-5236,
slip op. l l. If the government’s rationale logically explains why failing to protect the
information in a category is likely to harm foreign relations and national security interests, and
the government otherwise has complied with Parha!, then the Court is “required to defer to the
government’s assessment of the harm to foreign relations and national security that would result”
from disclosing the information Id at l$. The Court can find no authority to suggest that it may
disregard the government’s assessment of the harm to foreign relations and national security
simply because the matter involved is one of great public interest To the contr'ary, the D.C.
Circuit has made clear that “the failure to give deference when it is due is error.” ld Although
the Court has not yet reached the ultimate question of whether both Parhat steps have been
satisfied, it nevertheless merits emphasis at this stage that there is no authority for the Court to
hold that the public interest in certain information outweighs the harm to national security or
foreign relations For better or worse, that simply is not the applicable legal test.
Category 6 Administrative data that, though unclassified standing

alone, could in the aggregate reveal sources and methods

used to investigate persons suspected ofterrorism~related

activity.

The final category of information for which the government seeks protection is

“admiru'snarive data typically found in the intelligence reports appended as exhibits to the

 

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returns, including operational nicknames, code words, dates of acquisition (including dates of
interrogations), and case file names and numbers.” Mem. of P&A In Supp. of Resp’ts’ Mot. to
Amend 39. The government’s general rationale for protecting this information is that “[t]hough
unclassified standing on their own, these data could, if aggregated, reveal the sources and
methods used to investigate persons suspected of terrorism-related activities, thereby enabling
such persons to avoid detection and evade prosecution, and reducing the effectiveness of the
sources and methods in the future.” Second.)ecl. 11 62; McJunkin Decl. 1l 40. In addition,
the information could reveal “collection priorities, intelligence asset allocation, and intelligence
collectors’ focus and capabilities.” Second.)ccl. 11 63.

The government’s rationale also offers detailed explanations with respect to specilic

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1141~42. ln addition, operational “nicknames” and code words assigned to controlled access

programs can reveal the existence, focus or scope of intelligence operations when connected with
certain information or reports, or can enable adversaries to locate and associate documents in a

factual return and potentially identify certain intelligence collection requirements or where the

government lacks information Second-Decl. 111 64-67.

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Second-Decl. 1170.

 

 

 

 

 

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The press intervenors “do not object to the withholding of administrative data,
operational ‘niclcnames,’ code words, or FBI case names and file numbers . . . .” They do,
however, object to a “blanket authorization” to withhold dates of acquisition and dates of
interrogations Press lntervenors’ Br. l7. The press intervenors argue that “[d]isclosure of such
information could well shed light on the actions [of] Government and therefore proposed
redactions require review, in context, on a case by case basis.” Id
The petitioners concede that “[i]n the vast majority of cases, there will not be a dispute
regarding the designation of information within this category as protected.” Pet’rs’ Br. 26. Even
so, though, the petitioners object to the government being able to exercise any discretion about
what is or is not protected. Id. at 27. The petitioners argue that “[t]his is particularly problematic
because it could easily allow the government to create chronological confusion in the version of
the record presented to the public by picking and choosing which interrogation dates to ‘protect’
from public view.” Id.
lt appears that this is the least contentious category proposed by the government given
that all parties seem to agree that it would be appropriate to protect at least some of the

information covered by the category While the category is described in fairly general terms, the

rationale is quite nam)wly tailored and logically and rationally explains why the information in

 

 

 

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this category should be subject to protection The Court therefore finds that this category meets
the requirements of step one of the Parhat analysis

B. Step Two - Whether The Govemment Has Shown Exactly What Informatlon ln
The Case At Hand lt Seeks To Protect

 

As indicated above, the Court finds that the government has satisfied the first step of
Parhar by demonstrating with respect to each proffered category, what kind of information
requires protection and why. Ameziane, No. 09~5236, slip op. ll. Considering the unique nature
of these cases, and the sheer volume of documents and information that is at issue, it is sensible
to conserve judicial resources and ensure consistency across all the cases by having a single
judicial determination about whether the government properly may seek protection for
information that falls within the enumerated categories presented in the pending motion, The

next question is whether the government has satisfied Parhar 's second step.

 

Admittedly, it was not entirely clear to this Court whether the government was seeking a
judicial determination that Parhat ’s second step had been met as well. ln the governrnent’s
motion, and during oral arguments, the government repeatedly asserted that it was not attempting
to bypass ajudicial determination about whether specific designations within a document
properly fall within the enumerated categories Instead, the government explained:

Respondents wish to underscore that by making this request they are not asking the
Court to cede to the Govemment unilateral “‘discretion to seal . . . judicial
record[s].”’ See lurie l, 2009 Mem. Op. at 5 (quoting Br'smullah v. Gates, 501 F.3d
178, 188 (D.C. Cir. 2007)). Werc the Court to approve Respondents’ categorical
approach, Respondents would still be required to highlight within individual returns
each line or word that they seek to deem protected, including those lines and words
falling into these six categories, and to submit highlighted factual returns first to
petitioners’ counsel and then to the individual merits judges for final approval of the
proposed public returns. See June l, 2009 Order at l. lf either the petitioner of the
Merits Judge in an individual case took issue with the Respondents’ designation of

 

 

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particular pieces of information as protected, Respondents then would have to submit

a memorandum explaining why each piece of` disputed information actually falls

within one or more of the six designated categories And if in a particular return

Respondents were to highlight information falling into another category outside of

these six, and that designation were questioned by petitioners’ counsel or the court,

Respondents would then have to show both why the new category is protectable and

that the information designated falls within the additional category. This Cour!’s

approval of the six categories however, would eliminate the need for case-by-case

litigation over the protectabil'ily of each of the approved categories
Mem. of P&A In Supp. of Resp’ts’ Mot. to Amend 17 (emphasis added). Based on this
explanation, the Court interprets the govemment’s motion as requesting, at this juncture, only a
judicial determination about whether the six proposed categories qualify for protection because
they comply with the first step of Parhar.

The fact of the matter is that the second step ofParhat requires the government to “show
exactly what information in the case at hand it seeks to protect." Ameziane, No. 09-5236, slip op.
ll (emphasis in original). By limiting the second step to a consideration of the “exact”
information “in the case at hand” that the government seeks to protect, the Court concludes that
step two requires a case-specific or document-specific determination about whether information
designated for protection properly falls in one of the six categories As this Court interprets
Bismullah, Parhat and Ameziane, step two cannot be satisfied by the government’s production of
“examples” of information it would designate in “sample” documents That would result in the
very situation the press intervenors and petitioners are concerned about, namely the government
unilaterally designating information as protected in violation of Bismullah with no viable way for
the press intervenors or petitioners to challenge the designations Accordingly, although this

Court finds that the respondents’ proposed six categories satisfy step one of Parhat, the question

of whether information the respondents actually designate for protection Satisfies step two of

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Parhat will have to be determined by the meritsjudges presiding over the cases in which the

government has or will file a proposed public factual return that contains such designated
information

This point should assuage the press intervenors’ and petitioners’ fear that they will have
no real opportunity to challenge a designation they assert is improper and should remedy the
contention that the government will be able to selectively redact information in a way that
distorts the facts. Because, as the Court has explained several times, determinations about
whether designations properly qualify for protection involve an assessment of whether the
designations fall within the scope of a protected category - taking into account whether the
rationale for the category applies to the designation or is implicated by it - many, if not most, of
the press intervenors’ and petitioners’ opposing arguments should be resolved by this process. If
the rationale the government proH`ered tojustify why a category of information should be
protected does not apply to a designation, then the designation will not qualify for protection.

CONCLUSION

For the aforementioned reasons, the Court will grant in part Respondents’ Motion to
Amend and for Clariiication of the Court’s January l4, 2010 Order Regarding Public Retums.
The respondents’ request for an extension of time to complete the processing of proposed public
factual returns will be denied as moot light of subsequent proceedings in this case. The Court
will grant the respondents request for a ruling that the six categories of information specified in
the motion qualify for protection to the extent the categories satisfy step one of Parhat. The
Court will deny as moot the respondents’ request for clarification about whether a legal
memorandum justifying designations must be submitted in the absence of a dispute about the

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designations Pinally, the Court will deny the press intervenors’ motion for sanctions because the
government’s motion did not re-litigate issues that were already decided, the request for more
time to tile the proposed public factual returns was granted during earlier proceedings, and there
is no indication that the government filed its motion in bad faith or for the purpose of delaying

these proceedings

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Thomas F . Hogan
United States District J

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